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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION


                                              )
In re:                                        )      Chapter 11
                                              )
Americore Holdings, LLC, et al.,              )      Case No. 19-61608-grs
                                              )
         Debtors.                             )      Jointly Administered
                                              )
                                              )      Honorable Gregory R. Schaaf


 MORE DEFINITE STATEMENT OF RELEVANT PARTIES TO COMMONWEALTH
  OF PENNSYLVANIA’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                           (ECF NO. 84)
    NOW COMES, the Commonwealth of Pennsylvania, by its Attorney General, Josh Shapiro,

and submits this more definite statement of relevant parties to Commonwealth of Pennsylvania’s

Emergency Motion for Determination that the Automatic Stay Does Not Apply or, in the

Alternative, For Relief From the Automatic Stay [ECF No. 84].

    1. On January 14, 2020, the Commonwealth of Pennsylvania filed an Emergency Motion

         for Determination that the Automatic Stay Does Not Apply or, in the Alternative, for

         Relief from the Automatic Stay [ECF No. 84]. In the Commonwealth’s Emergency

         Motion, in footnote 1, p. 2, the Commonwealth of Pennsylvania identified the names of

         debtors and case numbers of debtors for whom the Commonwealth’s Motion was

         relevant. This footnote was appropriately limited to the defendants named in the

         Commonwealth of Pennsylvania’s Petition filed in the Lawrence County, Pennsylvania

         Orphans’ Court. With additional time and information available to the Commonwealth,

         the Commonwealth has attempted in an abundance of caution to identify all debtors for

         whom the Commonwealth’s Motion for Relief from Stay is relevant.
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   2. Pursuant to Orders entered by the Court at Docket Nos. [ECF No. 60], [ECF No. 67], and

      [ECF No. 129], the following is a list of parties and case numbers relevant to the

      Commonwealth of Pennsylvania’s Emergency Motion for Determination that the

      Automatic Stay Does Not Apply or, in the Alternative, For Relief From the Automatic

      Stay [ECF No. 84]:

          a. Americore Health Enterprise, LLC; Case No. 19-61606-grs.

          b. Americore Health, LLC; Case No. 19-61607-grs.

          c. Americore Holdings, LLC; Case No. 19-61608-grs.

          d. Ellwood Medical Center, LLC; Case No. 19-61613-grs.

          e. Ellwood Medical Center Real Estate, LLC; Case No. 19-61614-grs.

          f. Ellwood Medical Center Operations, LLC; Case No. 19-61615-grs.

   3. The Commonwealth of Pennsylvania is presently unable based on available information

      to completely identify and understand the ownership interests and lines of responsibility

      of the various debtors in the Ellwood City Medical Center.

   4. As indicated in the Debtors First Day Declaration [ECF No. 11, Exhibit A] and the

      Commonwealth of Pennsylvania’s Motion for Relief [ECF No. 84, Exhibit J p.3, ¶¶ 12-

      18], the debtors are structured in a complex corporate structure with several levels of

      ownership. Even if the Commonwealth of Pennsylvania was able to definitively

      determine ownership, present limited information makes it virtually impossible to

      identify which of the debtors is ultimately responsible for any given aspect of the

      operations of the Ellwood City Medical Center.

   5. As indicated during the January 17, 2020 oral argument on the Commonwealth of

      Pennsylvania’s Emergency Motion for Determination that the Automatic Stay Does Not
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       Apply or, in the Alternative, For Relief From the Automatic Stay [ECF No. 84], the

       Commonwealth of Pennsylvania intends to amend its December 23, 2019 Petition filed in

       the Orphans’ Court for Lawrence County, Pennsylvania to appropriately reflect the

       debtors’ bankruptcy filings, including modifying the Commonwealth’s prayer for relief

       and the named parties.

   6. On January 14, 2020, the Commonwealth of Pennsylvania paid the sum of $181.00

       [Receipt No. 10213733] toward the fees for the Motion for Relief from Stay [ECF No.

       84].

   7. The Commonwealth of Pennsylvania will remit payment for the remaining $905 toward

       the fees for the other five relevant debtor parties identified herein supra.



                                              Respectfully submitted,

                                              JOSH SHAPIRO
                                              ATTORNEY GENERAL


Dated: January 22, 2020                 By: /s/ Jason L. Swartley
                                            Jason L. Swartley
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                                CERTIFICATE OF SERVICE

       I certify that, on January 22, 2020, the foregoing “MORE DEFINITE STATEMENT OF

RELEVANT PARTIES TO COMMONWEALTH OF PENNSYLVANIA’S MOTION FOR

RELIEF FROM THE AUTOMATIC STAY (ECF NO. 84)” was served electronically through the

Court’s ECF system to all persons receiving electronic notifications in the Chapter 11 cases. Also,

on January 22, 2020, a copy of the Motion was sent via electronic mail to the Debtors’ Counsel

and the Office of the United States Trustee at the addresses set forth below:

 Office of the United States Trustee              James R. Irving, Debtors’ Counsel
 E-mail: Bradley.Nerderman@usdoj.gov              E-mail: jirving@bgdlegal.com

 Christopher B. Madden, Debtors’ Counsel          April A. Wimberg, Debtors’ Counsel
 E-mail: cmadden@bgdlegal.com                     E-mail: awimberg@bgdlegal.com



                                             /s/ Jason L. Swartley
                                            Jason L. Swartley
